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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 ROSA RODRIGUEZ MURPHY, et. al.,

             Plaintiffs,

                    v.                                  CIVIL NO.: 17-1841 (MEL)

 UNITED STATES OF AMERICA

             Defendant.




                                    OPINION AND ORDER
   I.      PROCEDURAL BACKGROUND

        On June 22, 2017, Rosa Rodríguez Murphy, Edwin Maysonet, María I. Maysonet,

Giovanni Maysonet, and Princi L. Maysonet (“Plaintiffs”) filed a complaint against the United

States under the Federal Tort Claims Act (“FTCA”), seeking damages for Defendant’s alleged

negligent medical care and treatment of Pedro Maysonet (“Mr. Maysonet”) at the Veterans

Hospital. ECF No. 1. Plaintiffs’ claims seek redress for the damages suffered by them for the

death of their husband and father, as well as for the damages suffered by Mr. Maysonet during the

three months prior to his death, a claim now inherited by them as heirs. Id. at 6. Pending before

the court is a motion to dismiss Plaintiffs’ survivorship claim for failure to include all necessary

parties. ECF No. 29. In the pending motion, Defendant contends that in addition to the four

children and their mother, who are plaintiffs in this suit, Mr. Maysonet had four heirs not included

in the present action. Id. at 1–2. Defendant argues that, pursuant to Federal Rule of Civil

Procedure 19 (“Rule 19”), all heirs to an estate must be joined as parties in a survivorship action

because under Puerto Rico property law an estate is not a distinct entity separate from those
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composing it, and therefore its members are indispensable parties in an inherited action. Id.

Plaintiffs filed a response in opposition in which they argue that under Rule 19, heirs are not

considered indispensable parties in a survivorship action such that would warrant dismissal of the

claim. ECF No. 32. Moreover, Plaintiffs argue that continuance of the survivorship claim would

not prejudice the rights of the missing heirs because whatever cause of action the missing heirs

may have had under the FTCA is now time-barred as the applicable statute of limitations has run;

thus, continuance of the survivorship claim can only benefit the missing heirs. Id. at 3.

    II.       STANDARD FOR RULE 19 JOINDER

           Pursuant to Rule 19, a necessary party is one: “(1) without whom the court cannot accord

complete relief; or (2) who claims an interest relating to the subject of the action and is situated

such that disposing of the action in the person’s absence may as a practical matter impair or impede

the person’s ability to protect the interest; or (3) whose claimed interest in the subject of the action

would leave defendants subject to substantial risk of incurring multiple or otherwise inconsistent

obligations.” Cruz-Gascot v. HIMA-San Pablo Hosp. Bayamón, 728 F.Supp. 2d 14, 26–27 (D.P.R.

2010) (citing Fed. R. Civ. P. 19(a)). “If the court determines that someone is a necessary party

under Rule 19(a) but one that cannot be feasibly joined, then the court proceeds under Rule 19(b)

to determine ‘whether, in equity and good conscience, the action should proceed among the

existing parties or should be dismissed.’” Id. (citing Fed. R. Civ. P. 19(b); In re Cambridge Biotech

Corp., 186 F.3d 1356, 1372 (Fed. Cir. 1999)).

    III.      LEGAL ANALYSIS

           There is a split of authority in the District of Puerto Rico regarding whether heirs are

indispensable parties to a survivorship claim. See Rivera v. González, No. 15-2080 (MEL), 2017

WL 1247875, at *3 (D.P.R. 2017); Betancourt v. United States, No. 12-1326 (MEL), 2014 WL



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5846745, at *2 (D.P.R. 2014). The First Circuit has noted the split between judges in this district

regarding the indispensability of absent heirs, but without ruling on the issue. See Delgado-

Caraballo v. Hosp. Pavía Hato Rey, Inc., 889 F.3d 30, 35 (1st Cir. 2018); Cason v. Puerto Rico

Elec. Power Auth., 770 F.3d 971, 975–76 (1st Cir. 2014); Jiménez v. Rodríguez-Pagán, 597 F.3d

18, 27 (1st Cir. 2010). As the absence of a binding resolution to the issue remains, the undersigned

continues to find persuasive the holding in Betancourt and reaffirms “that heirs are indispensable

parties to a survivorship action.” 2014 WL 5846745, at *3. The reasoning deployed in Betancourt

is incorporated by reference into this opinion and order. Id. See also Delgado v. Dorado Health,

Inc., 2017 WL 2963379, at *2 (D.P.R. 2017) (Singal, J.); González v. Presbyterian Cmty. Hosp.,

Inc., 103 F. Supp. 3d 198, 199 (D.P.R. 2015) (Delgado-Hernández, J.); Pino-Betancourt v. Hosp.

Pavía Santurce, 928 F. Supp. 2d 393, 396–97 (D.P.R. 2013) (Besosa, J.) (holding that heirs are

necessary and indispensable parties to a survivorship action).

       Plaintiffs’ argument that the missing heirs are not necessary and that continuance of the

survivorship claim has no effect upon their rights is untenable. Under Puerto Rico law, “a

‘sucesión’ is not an entity distinct and separate from the persons composing it” and “does not have

existence by itself as a juridical person or entity.” Pino-Betancourt, 928 F. Supp. 2d at 396. It

follows that any action taken by Plaintiffs in this suit would have an effect on the interests of the

heirs not party to this suit. For example, any form of settlement by Plaintiffs could entail an act of

alteration of the inheritance, as it may reduce the amount of damages to be inherited. Cruz-Gascot,

728 F. Supp. 2d at 26. Such alteration cannot be made without the consent of all the heirs. Id.

Therefore, as previously held by the undersigned, “a lawsuit brought by only one or some of the

heirs could prejudice the rights of others in the succession, rendering such parties necessary to the

survivorship action.” Rivera, 2017 WL 1247875, at *3.



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       Additionally, allowing a survivorship claim to continue in the absence of heirs would

incentivize future heirs to bring causes of action before a court without notifying all of the

necessary parties, and increase the likelihood of inconsistent verdicts.

       Having established that Mr. Maysonet’s other heirs are necessary parties to the

survivorship claim, the next question is whether they can be joined. Plaintiffs argue that since the

applicable period to bring a cause of action under the FTCA is two years after the decedent’s death,

the missing heirs cannot file wrongful death claims against the United States. See 28 U.S.C. §

2401(b). They add that since any claim the missing heirs may have had is now time-barred by the

applicable statute of limitations, they are no longer indispensable parties, and thus the inherited

claim may proceed without their joinder. ECF No. 32, at 3. However, Plaintiffs fail to cite any

authority supporting their contention that an indispensable party becomes dispensable because of

the statute of limitations. The inquiry is whether within two years after the claim accrued all the

heirs were indispensable parties. The court answers this question in the affirmative. Nothing

prevented all the heirs from complying with this requirement and presenting a lawsuit with their

survivorship claim in a timely manner.

IV.    CONCLUSION

       For the foregoing reasons, Defendant’s motion to dismiss the survivorship claim is

GRANTED.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 9th day of August, 2019.

                                                      s/Marcos E. López
                                                      U.S. Magistrate Judge




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